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    EXHIBIT B
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                                                ATTORNEYS’ EYES ONLY

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    June 9, 2021

    VIA EMAIL (brichardson@bsfllp.com)

    Beko Reblitz-Richardson
    BOIES SCHILLER FLEXNER LLP
    44 Montgomery Street, 41st Floor
    San Francisco, CA 94104


    Re:       Anibal Rodriguez, et al. v. Google LLC, Case No. 3:20-CV-04688
              Plaintiffs’ Second and Third Set of Requests for Production of Documents

    Counsel,

           I write in response to your April 22, 2021 letter and the parties meet-and-confer discussions
    concerning Plaintiffs’ Second and Third Sets of Requests for Production of Documents. This letter
    memorializes the parties meet-and-confer discussions held on May 5, 7, and 10, and serves to distill
    Google’s proposals to resolve the outstanding disputes.

           As a preliminary matter, Google expects to substantially complete production of custodial
    documents Google has thus far agreed to produce within 30 days of this letter. Agreements to further
    custodial productions, including those offered in this letter, will be subject to separate timetables to be
    discussed and agreed upon by the parties once the parties reach agreement on these RFPs.

            For the avoidance of doubt, as we discussed during our meet and confer, all of Google’s offers
    to produce custodial documents contained herein apply only to the three already agreed-upon
    custodians, Messrs. Ma, Monsees, and Ganem. You agreed that Plaintiffs would not use Google’s
    agreement to produce documents in response to any of these RFPs as a means to seek documents from
    additional custodians other than Messrs. Ma, Monsees, and Ganem. Further, Google does not waive
    the right to object to the scope of production of responsive documents for future custodians, if any, and
    the search terms to be used for those custodians.

            RFP No. 4. For non-custodial documents, Google has already agreed to produce documents
    sufficient to show the purpose of WAA and Google’s disclosure about WAA to the public, as well as
    documents sufficient to show the function of WAA. Google will also conduct a reasonably diligent
    search for non-custodial documents responsive to RFP 4 “from any internal wiki or dashboard focusing
    on WAA,” as requested in your April 22 letter. We understand this agreement to resolve the parties’
    dispute on RFP 4 as related to non-custodial documents.




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          As for custodial documents, Google has already agreed to produce all documents in the
possession of Frances Ma and Steve Ganem concerning the purpose and function of WAA as it relates
to Firebase. Because David Monsees is a product manager for WAA, documents in his possession
relating to WAA would encompass a large proportion of his documents yet would yield comparatively
little relevant evidence. Nonetheless, in the interest of compromise, Google has agreed to use narrowed
search terms for Mr. Monsees’ custodial documents. Among other terms, Google will use search terms
that encompass the various permutations of WAA proposed by Plaintiffs, as well as other targeted
terms that reflect Google’s agreements to produce documents thus far and those proposed in this letter.
That should resolve the parties’ dispute on custodial documents. Google is open to discussing search
terms in more detail on the parties’ upcoming meet-and-confer call on June 11.

         RFP No. 5. For non-custodial documents, Google has already agreed to produce documents
sufficient to identify its public disclosures during the relevant time period (i) to users about WAA and
(ii) identifying the types of activity Google saves to a User’s Account when Web & App Activity is
turned on versus turned off. Google will also conduct a reasonably diligent search for non-custodial
documents responsive to RFP 5 “from any internal wiki or dashboard focusing on Web & App
Activity” and “disclosures and statements to app developers regarding Web & App Activity,” as
requested in your April 22 letter. Google will not commit to searching all internal wikis or dashboards
focusing on Firebase SDK for documents responsive to RFP 5.

       Google is willing to produce custodial documents in Messrs. Ma’s, Monsees’, and Ganem’s
possession subject to appropriately tailored search terms.

        RFP No. 6. This request seeks “[d]ocuments concerning any Google disclosures and statements
regarding Google’s receipt of data while users have Web & App Activity turned off.” Google has
already agreed to produce documents responsive to RFP 6 as related to the types of data Plaintiffs
alleged Google is surreptitiously collecting in their operative complaint. The parties have been
variously calling this “user-interaction data” and “app-usage data.” Internally at Google, this is
sometimes referred to by the GA for Firebase team as “measurement data” or “event data.” However it
is called, the target here is the automatically collected events and parameters outlined in paragraphs 38-
58 of the First Amended Complaint, which are data types Google receives through GA for Firebase as
publicly documented.

        As we discussed during our latest meet and confer, Plaintiffs agreed to propose a list of other
types of data they believe should be encompassed here. We have not received that list; please send it as
soon as possible. As far as we can tell, no other type of data is encompassed by Plaintiffs’ claims (such
as the types outlined in my April 12 letter like crash reporting data or data collected and consented to
by other controls, like YouTube History and Gmail activity). Barring more information from Plaintiffs,
Google will contain its search for responsive documents to documents relating to the above-identified
types of data Google receives through GA for Firebase.

       RFP No. 8. Your letter asks whether Google will produce “[d]ocuments sufficient to show all the
ways in which Google collects data while users have Web & App Activity turned off.” This is overbroad
and untethered to Plaintiffs’ allegations, including because, as written, it can be read to include all data




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Google collects or receives on any given day. Google has and will continue to search for and produce
documents sufficient to show the ways in which Google receives data about users through GA for Firebase
while users have WAA turned off. In light of the Court’s Order on Google’s Motion to Dismiss, Google
stands on its remaining objections.

        RFP No. 9. As we have discussed several times, it is impractical, unduly burdensome, and
prohibitively costly for Google to produce “[d]ocuments sufficient to identify all data Google collects
while users have Web & App Activity turned off,” in addition to potentially impacting the agreements
Google has with app developers and the potential for violating users’ privacy. The complete set of raw
data sent to Google via GA for Firebase is not necessary to litigate this case.

        Nonetheless, we reiterate that Google is willing to produce documents sufficient to identify at
least some of the data sent to Google via GA for Firebase from the named Plaintiffs’ devices. To do so,
Google needs app-instance IDs for the apps for which Plaintiffs want such data from Plaintiffs’
specific devices. As I explained in my March 11, 2021 email, Google is not able to target a query for
data collected from a specific individual who has WAA off without those app instance IDs because,
contrary to Plaintiffs’ claims, Google doesn’t connect such data to a user’s profile, and therefore
cannot individually identify the user without the user’s cooperation and consent.

        During our May 5 discussion, you asked for additional information on how the Plaintiffs can
identify app instance IDs, which we provided on May 7. We understand Plaintiffs will provide app-
instance IDs soon. We haven’t received any such app instance IDs as of today.

        RFP No. 10. This request seeks “[d]ocuments sufficient to show all the ways in which Google
uses data collected while users have Web & App Activity turned off.” As we discussed, this request
flows from RFP Nos. 8-9 and will be informed by the documents Google produces in response to those
requests. Google proposes deferring discussion on this request until Google has produced such
documents and Plaintiffs have reviewed those documents. I also note that this request is facially
overbroad, as confirmed by the Court’s Order on Google’s motion to dismiss, which dismissed aspects
of Plaintiffs’ claims untethered to GA for Firebase.

         RFP No. 11. The parties are discussing this request under separate cover.

         RFP Nos. 12–13. The parties agreed to defer discussion of these requests.

       RFP No. 14. As we discussed, Google is willing to produce non-privileged board presentations
and minutes related to Web & App Activity or GA for Firebase that are identified based on a
reasonably diligent search. To the extent any documents are produced, the parties have agreed that
Google will redact non-responsive material. For the avoidance of doubt, Google has searched for board
presentations and minutes from meetings of its Board of Directors and Audit and Compliance
Committee from 2010 to the present. To conduct its search, Google utilized the following search
terms: “Firebase,” “My Account,” “WAA,” or “Web & App Activity.”




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       RFP No. 15. Google is willing to produce custodial documents in Messrs. Ma, Monsees, and
Ganem’s possession subject to appropriately tailored search terms. You clarified that Plaintiffs do not
seek documents concerning minor changes or bug fixes.

       RFP No. 16. This request seeks “[d]ocuments concerning each change Google has made, is
making, has considered, or is considering with respect to its privacy and data-collection disclosures
and practices in connection with, separately, Firebase and Web & App Activity, and Google’s
reason(s) for each change.” You clarified that Plaintiffs do not seek documents concerning minor
changes Google has made to its data-collection practices, such as bug fixes. Google is willing to
produce custodial documents in Messrs. Ma’s, Monsees’, and Ganem’s possession subject to
appropriately tailored search terms.

        RFP No. 17. This request seeks “[d]ocuments discussing, analyzing, or evaluating any of the
rights and claims asserted in this lawsuit.” As my April 12 letter explained, Google conducted a
reasonable search for and has not identified any non-privileged documents responsive to this request.
You asked Google to propose an agreement for documents to be included on a privilege log. Google
proposes the following: (1) documents generated after this action was filed that are withheld as
attorney-client communications or attorney work product need not be logged; (2) documents generated
prior to the filing of this action, but in direct connection with preparation for the litigation that are
withheld as attorney-client communications or attorney work product need not be logged; (3) all other
materials withheld on grounds of privilege should be logged.

        RFP No. 20. This request seeks “[d]ocuments relating to Google’s October 2014 acquisition of
Firebase, including the acquisition agreement, diligence documents, Google’s business case for the
acquisition, and Google’s anticipated and actual benefits from the acquisition.” Plaintiffs have
proposed that Google produce documents sufficient to show the “business case” for Google’s “October
2014 acquisition of Firebase.” Google stands by its response and the objections raised in my February
23 letter, especially in light of the Court’s Order on Google’s Motion to Dismiss.

        RFP No. 21. Your March 5 letter discusses four categories of custodial documents. My April
12 letter addressed Google’s position on categories (a) and (b). Google agreed to produce custodial
documents, and your April 22 letter stated this resolves the parties’ dispute except with respect to
documents not related to GA for Firebase but related to Firebase SDK. In light of the Court’s Order on
Google’s Motion to Dismiss, we believe that issue is resolved.

        As for (c), Plaintiffs seek custodial documents on Google’s “collection, use, and/or storage of
data with respect to Google Analytics.” Google believes that resolution of RFPs 8–10, on which the
parties are working to come to an agreement, will resolve the dispute on this request. As explained
above, Google is willing to produce documents sufficient to (i) show the ways in which Google receives
data about users through GA for Firebase while users have WAA turned off; and (ii) identify certain data
sent to Google via GA for Firebase from the named Plaintiffs’ devices, provided Plaintiffs provide
app-instance IDs.




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        As for (d), Plaintiffs seek custodial documents on “My Activity or Web & App Activity, which
would encompass all documents that reference or in any way concern both Google Analytics and also
My Activity or Web & App Activity.” Google agrees to produce custodial documents in Messrs.
Ma’s, Monsees’, and Ganem’s possession subject to appropriately tailored search terms to the extent
they discuss both GA for Firebase and Web & App Activity.

       RFP No. 23. Your April 22 letter requested that Google provide a date certain by which
Google will complete production of responsive documents. Google agrees to complete production of
responsive documents by the close of fact discovery which is currently set for November 12, 2021. As
you know, Google is amenable to stipulating to a case schedule that would specify a date for
completion of document production in advance of the fact discovery cut-off. Although Plaintiffs
previously refused to propose such a schedule, Google reiterates its openness to such a negotiation.

       RFP No. 26. Your April 22 letter indicated Plaintiffs are willing to drop this request, provided
that Google confirms that it will produce documents responsive to RFP 26 in response to other
requests. Google confirms.

        RFP No. 31. This request seeks “[d]ocuments concerning Google’s decision to not make data
Google collected while users have Web & App Activity turned off viewable to users through their
Google account.” As my April 12 letter explained, no such decision was made. To the extent Google
becomes aware of a decision to keep GA for Firebase data off of the WAA My Activity page when
WAA is off, Google will produce documents responsive to this request subject to a reasonably diligent
search.

        RFP Nos. 35–36. This request seeks “[d]ocuments relating to how Google’s technologies and
services work with the consumer data that Google collects, including data Google collects while
consumers have Web & App Activity turned off.” As my April 12 letter explained, Google doesn’t
track individual consumers using GA for Firebase data while WAA is turned off. To the extent any
custodial documents are responsive to these requests—we do not expect to find any—Google will
produce such documents.

      In response to RFP 35, Google is also willing to produce documents sufficient to show how
Google’s technologies and services use data Google receives through GA for Firebase.

       In response to RFP 36, Google is willing to produce documents sufficient to show how Google
uses consumers’ data Google receives through GA for Firebase. We believe this agreement should
resolve the parties’ disputes on these requests.

        RFP No. 37. This request seeks “[d]ocuments sufficient to identify all apps that during the
Class Period have used Google’s Firebase SDK, including the dates during which each app used
Google’s Firebase SDK.” As our response to this request stated, Google has provided Plaintiffs an
interrogatory response that identifies which of the over 400 apps listed in Plaintiffs’ complaint have
used GA for Firebase, subject to the caveats contained in that response. This information was compiled
manually, requiring significant person-hours. Responding to this request to any greater degree will
place significant and undue burden on Google not only because it seeks information on multitudes of




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apps but also because it is overbroad in that it seeks information on apps that have used Firebase SDK
writ large when only GA for Firebase is properly implicated by the complaint. And, as we have
discussed, such information will do virtually nothing to advance this case.

        RFP No. 38. This request seeks “[d]ocuments sufficient to identify all apps from which Google
during the Class Period collected data while users had Web & App Activity turned off and the time
periods during which Google collected that data from each such app.” Beyond Google’s proposed
compromise on RFP 9, Google stands on its objections here.

        RFP No. 39. Your April 22 letter requested that “for custodial documents, Google produce[]
documents relating to (a) Google’s efforts to increase app developers’ use of Firebase SDK, (b) how
use of Firebase SDK relates to use of Google Analytics to gain information about customers’ use of the
app, (c) how use of Firebase SDK relates to use of Google’s “ad exchange” services such as AdMob,
and (d) how use of Firebase SDK relates to use of Google’s “Play Store” as a platform on which to
distribute their app to consumers and to process payments in the app.” Google will agree to produce
custodial documents responsive to these subsections as long as the documents relate to GA for
Firebase. As for non-custodial documents, Google maintains that the request is overbroad and
irrelevant.

       RFP No. 42. The parties agree that there is no dispute on this request to the extent they can
reach agreement on RFP 21.

       RFP Nos. 46–47. This document requests documents sufficient to identify “all types of profiles
created by Google” (RFP 46) and all the “ways in which Google used profiles during the Class period”
(RFP 47). As my April 12 letter explained, Google doesn’t create profiles using GA for Firebase data
while WAA is turned off. As we discussed during our meet-and-confer, Google will produce
documents sufficient to show the flow of GA for Firebase data into and within Google.

        RFP No. 48. Your April 12 letter proposed that “for custodial documents, Google produce[]
documents concerning Google’s linking of collected website and app activity to a particular profile
during the Class Period as it relates to activity collected through Firebase SDK.” As my April 12 letter
explained, Google doesn’t link individual consumers’ app activity data Google receives via GA for
Firebase to particular profiles while WAA is off. Nonetheless, Google will produce custodial
documents concerning Google’s linking of collected website and app activity to a particular profile
during the Class Period as it relates to activity Google receives through GA for Firebase while WAA is
turned off, if any are found.

       RFP No. 55. Google has agreed to produce documents from agreed-upon custodians if related
to GA for Firebase. Further, Google is willing to produce documents sufficient to show material
changes Google made to its data collection practices through GA for Firebase since it acquired
Firebase SDK in 2014.

      RFP No. 56. The parties’ dispute on this request amounts to a dispute over which privileged
documents should be logged. Google believes that the resolution of the parties’ dispute over what




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should be logged as discussed above in response to RFP 17, will also resolve the dispute on this
request.

        RFP No. 66. Google will produce responsive custodial documents. Your April 22 letter
proposes that for non-custodial documents, Google produce “studies and evaluations of how people
understand and use the Web & App Activity control.” Google will produce such documents provided
they also relate to GA for Firebase.

         RFP No. 68. The parties are discussing this dispute under separate cover.

        RFP Nos. 69–70. These requests seek documents sufficient to identify the number of users for
which, and number of times, Google received data while users had Web & App Activity turned off. As
we discussed, Plaintiffs will first review the documents Google is planning to produce in response to
other requests.

         RFP Nos. 72–74, 77–80, 85. These requests relate to the valuation and monetization of user
data.

               RFP 72 seeks “[d]ocuments pertaining to the value of user data during the Class Period,
                including:
                    o a. Any Google estimates of the value of its user data either generally or to any
                        products and/or services.
                    o b. Any third party estimates of the value of Google’s or any other entities’ user
                        data either generally or to any products and/or service.
                    o c. Any estimate of the relationship, if any, between the value of incremental data
                        on a given user and the amount of data already collected on that user (i.e., the
                        diminishing marginal return on data), either generally or to any products and/or
                        services.
               RFP 73 seeks “[d]ocuments pertaining to Google’s purchase or sale of user data from
                any third party, including documents sufficient to determine the types of data
                transacted, the price paid/received for the data, and/or any other relevant terms of the
                transaction.”
               RFP 74 seeks “[d]ocuments pertaining to Google’s purchases or sales of entities (e.g.,
                companies, divisions, business groups) in which user data constituted a material portion
                of the assets transacted, including documents sufficient to determine the portion of the
                price paid/received attributable to the user data and all relevant terms of the
                transaction.”
               RFP 77 seeks “[d]ocuments, studies, reports, and articles that describe or pertain to the
                market for user data, including class member data.”
               RFP 78 seeks “[d]ocuments sufficient to understand how Google determines
                compensation for tracking user’s data related to but not limited to how Google
                determines compensation for participants in the ‘Google Screenwise Trends’ program.”
               RFP 79 seeks “[d]ocuments concerning any valuation of user data, including data
                Google collected while users had Web & App Activity turned off.”




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              RFP 80 seeks “[d]ocuments concerning the prices charged by Google during the Class
               Period in connection with its advertising services, including higher prices Google
               charged using the data Google collected while users had Web & App Activity turned
               off.”
              RFP 85 seeks “[d]ocuments concerning Google competitors or competing proposals that
               permit consumers to monetize their data, including Brave, Loginhood, Killi, BIGtoken,
               Andrew Yang’s Data Dividend Project, and Nielsen Company.”

       These requests are vastly overbroad and untethered to the action based on the Court’s Order on
the Motion to Dismiss. In light of the Court’s recent Order, Google will not produce responsive
documents but is amenable to considering a proposal from Plaintiffs to narrow these requests to the
appropriate scope after the pleadings are settled.

       RFP No. 76. As a compromise, Google is willing to produce documents sufficient to show its
business planning related to collection and/or use of class member data through GA for Firebase.

        RFP No. 81. Google has agreed to produce documents sufficient to show Google anonymizes
the data it receives through GA for Firebase. Google will also produce documents sufficient to show
how it uses the anonymized data it receives through GA for Firebase.

         RFP No. 86. This request seeks “[d]ocuments sufficient to show all data Google used to target
advertisements to Plaintiffs.” As we discussed, any documents responsive to this request are already in
Plaintiffs’ custody and control. Further, Google has agreed to provide documents sufficient to identify
at least some data Google has received via GA for Firebase provided Plaintiffs give Google app-
instance IDs. Google will also produce documents sufficient to show whether and to what extent ads
are targeted to users using data sent to Google via GA for Firebase.

        RFP No. 88. This request seeks “[d]ocuments sufficient to show all Google revenues tied to
advertising to class members while they had Web & App Activity turned off.” Google is still in the
process of conducting its fact investigation into this request. It has yet to find any reason to belief such
documents exist or that revenues are calculated this way.

        RFP No. 89. This request seeks “[d]ocuments concerning any auto-delete functionality or
controls concerning user data, including how such functionality impacts data Google collected while
users had Web & App Activity turned off.” Google is willing to produce custodial documents to the
extent they relate to Google’s auto-delete functionality for data sent to Google through GA for
Firebase that would be affected by turning Web & App Activity on or off. Because Web & App
Activity does not control what data app developers send to Google through GA for Firebase, we do not
expect to find any responsive documents. And for that reason, we still do not understand what you are
seeking here or how it is relevant to the claims at issue so cannot produce responsive documents.

       RFP No. 91. This request seeks “[d]ocuments sufficient to identify all code-words or
codenames used in connection with any of the alleged issues, including Web & App Activity and
Firebase.” As a compromise, Google agrees to provide such information informally through its




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counsel by written letter. Google’s custodial productions will be sufficient to establish any such code-
words or codenames as well. And Google agrees to use these search terms when focusing on WAA
(sWAA or W&AA* or (Web pre/2 App) or “Web History” or “WHSH) and the term “scion” when
focusing on GA for Firebase.

       RFP No. 92. As we discussed during the meet-and-confer, Google has repeatedly
supplemented its interrogatory response related to this request (Interrogatory 5). Google believes that
should resolve the parties’ dispute on this request. But, in light of Judge Tse’s recent Order, if after
reviewing Google’s upcoming custodial production, Plaintiffs identify other sets of documents that
may be responsive, please let us know and we will investigate them.

        RFP Nos. 93–94. Google is not aware of any non-privileged, non-custodial documents
responsive to this request. To the extent it becomes aware of any, Google will produce such
documents. The remaining dispute concerns logging of responsive documents, which is discussed
further below.

        RFP No. 95. As a compromise, Google agrees to produce non-custodial documents sufficient
to show any aggregation of data in connection with users’ activity logged by GA for Firebase while
they had Web & App Activity turned off, as Plaintiffs requested in your April 22 letter. To be clear, we
understand “aggregation of data” to refer to “re-joining” data, or “joining” data from two or more
sources in order to personally identify an otherwise anonymous or pseudonymous user. We anticipate
there are no responsive documents to this request.

       RFP No. 98. This request seeks “[d]ocuments concerning the articles cited in the First
Amended Complaint.” Google will produce responsive custodial documents. Google will not produce
non-custodial documents in response to this request. Searching for such documents will be unduly
burdensome relative to the likelihood of identifying responsive, relevant, non-cumulative documents.

        RFP No. 107. The parties agree they will each produce documents received in response to a
subpoena related to discovery in this action. Documents received from third-parties that are responsive
to RFPs to which Google has agreed to produce non-custodial documents will also be produced, and to
the extent such documents are in the files of custodians they will be produced if they are otherwise
responsive.

        RFP No. 59, 60–61 (non-custodial documents), 63–65, 82–84. Google stands on its position
as reflected in its objections and responses to Plaintiffs’ documents requests and the parties’
correspondence, including my April 12 letter.

        Scope of case (Firebase SDK vs. GA for Firebase): To the extent not discussed above, the
only outstanding dispute related to RFPs 22-25, 27-29, 31, 43, 57, 62, 66, 72, 81, 95, 104-106 concerns
the proper scope of the case. The parties have extensively briefed Google’s position that Plaintiffs’
First Amended Complaint alleges facts having to do with GA for Firebase, but not the other products
and tools comprising Firebase SDK. Judge Seeborg recently rejected Plaintiffs’ allegation that Google
used Firebase SDK to “surreptitiously collect[] . . . data using secret software scripts.” (Dkt. 109). For
that reason, Google considers this dispute resolved.




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       Source Code Proposal. Plaintiffs agreed to propose a compromise on RFPs 33-34, 40, 44, 52,
53, 60-62, all of which concern source code.

      Plaintiffs to propose a compromise. Plaintiffs also agreed to propose a compromise as to
RFPs 49-51, 54, 67, 75, 96-97, 99-103.

       To the extent any RFPs are not addressed by this letter, it is our understanding that there is no
outstanding dispute on those requests.



Sincerely,



/s/ Eduardo E. Santacana

Eduardo E. Santacana




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